   Case 21-03005-sgj Doc 15 Filed 03/18/21                    Entered 03/18/21 23:33:20                Page 1 of 11




The following constitutes the ruling of the court and has the force and effect therein described.




Signed March 16, 2021
______________________________________________________________________




                                IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE NORTHERN DISTRICT OF TEXAS
                                            DALLAS DIVISION

                                                                       §
         In re:
                                                                       §   Chapter 11
                                                                       §
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                       §   Case No. 19-34054-sgj11
                                                                       §
                                          Debtor.
                                                                       §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
                              Plaintiff,                               §
                                                                       §   Adversary Proceeding No.
         vs.                                                           §
                                                                       §   21-03005-sgj
         NEXPOINT ADVISORS, L.P.                                       §
                                                                       §
                                          Defendant.                   §

                                    ORDER APPROVING
                     AMENDED STIPULATION REGARDING SCHEDULING ORDER

                  Upon consideration of the Amended Stipulation and Proposed Scheduling Order [Docket




     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
Case 21-03005-sgj Doc 15 Filed 03/18/21                       Entered 03/18/21 23:33:20                Page 2 of 11



  No. 9] (the “Stipulation”) 2 by and between Highland Capital Management, L.P., as debtor-in-

  possession (the “Debtor”), and NexPoint Advisors, L.P. (“NPA”, and together with the Debtor,

  the “Parties”), it is HEREBY ORDERED THAT:

             1.       The Stipulation, a copy of which is attached hereto as Exhibit A, is APPROVED.

             2.       The Stipulation shall become effective immediately upon entry of this Order.

             3.       With respect to the Adversary Proceeding, the Parties shall abide by the following

  pretrial schedule (the “Joint Pretrial Schedule”) in lieu of that provided in the Alternative

  Scheduling Order:

                                                Joint Pretrial Schedule

             Event                                                 Deadline

             1. Service of Written Discovery                       March 31, 2021
                 Requests
             2. Service of Written Responses to                    May 7, 2021
                 Discovery
             3. Completion of Fact Discovery                       May 28, 2021
             4. Expert Disclosures                                 June 10, 2021
             5. Completion of Expert Discovery                     June 25, 2021
             6. Dispositive Motions                                June 25, 2021
             7. Exhibit and Witness Lists                          July 26, 2021
             8. Joint Pretrial Order                               August 2, 2021
             9. Proposed Findings of Fact and                      August 2, 2021
                 Conclusions of Law
             10. Trial Docket Call                                 August 9, 2021 at 1:30 p.m. (CT)


             4.       The Joint Pretrial Schedule set forth in this Order shall only be modified in a writing

  signed by the Parties or upon the entry of an order of the Court entered upon notice to the Parties.

             5.       The Court shall retain jurisdiction over all disputes arising out of or otherwise

  concerning the interpretation and enforcement of this Order, subject to any objection to the Court’s



  2
      Capitalized terms not otherwise defined in this Order shall have the meanings ascribed to them in the Stipulation.



                                                              2
Case 21-03005-sgj Doc 15 Filed 03/18/21              Entered 03/18/21 23:33:20        Page 3 of 11



  jurisdiction or core jurisdiction and subject to any motion for the withdrawal of the reference, with

  respect to which all parties reserve their rights, if any.

                                           ###End of Order###




                                                     3
Case 21-03005-sgj Doc 15 Filed 03/18/21   Entered 03/18/21 23:33:20   Page 4 of 11




                                 EXHIBIT A
Case 21-03005-sgj Doc 15 Filed 03/18/21                 Entered 03/18/21 23:33:20               Page 5 of 11



  PACHULSKI STANG ZIEHL & JONES LLP                       MUNSCH HARDT KOPF & HARR, P.C.
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  Ira D. Kharasch (CA Bar No. 109084)                     Julian P. Vasek, Esq.
  (admitted pro hac vice)                                 Texas Bar No. 24070790
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  (admitted pro hac vice)                                 E-mail: drukavina@munsch.com
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  Counsel for Highland Capital Management, L.P.

                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

                                                               §
  In re:
                                                               §   Chapter 11
                                                               §
  HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                               §   Case No. 19-34054-sgj11
                                                               §
                                    Debtor.
                                                               §
  HIGHLAND CAPITAL MANAGEMENT, L.P.,                           §
                       Plaintiff,                              §
                                                               §   Adversary Proceeding No.
  vs.                                                          §
                                                               §   21-03005-sgj
  NEXPOINT ADVISORS, L.P.                                      §
                                                               §
                                    Defendant.                 §


  1
    The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
  address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


  DOCS_NY:42551.1 36027/002
Case 21-03005-sgj Doc 15 Filed 03/18/21                     Entered 03/18/21 23:33:20   Page 6 of 11



               AMENDED STIPULATION AND PROPOSED SCHEDULING ORDER

             This amended stipulation (the “Stipulation”) is made and entered into by and between

  Highland Capital Management, L.P., as debtor-in-possession (the “Debtor”), and NexPoint

  Advisors, L.P. (“NPA” or “Defendant”, and together with the Debtor, the “Parties”), by and

  through their respective undersigned counsel.

                                                     RECITALS

             WHEREAS, on October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary

  petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

  in the Bankruptcy Court for the District of Delaware, Case No. 19-12239 (CSS) (the “Delaware

  Court”);

             WHEREAS, on December 4, 2019, the Delaware Court entered an order transferring

  venue of the Debtor’s bankruptcy case (the “Bankruptcy Case”) to this Court;

             WHEREAS, on January 22, 2021, the Debtor commenced the above-captioned adversary

  proceeding (the “Adversary Proceeding”) against NPA by filing its complaint [Docket No. 1] 2

  (the “Complaint”);

             WHEREAS, on January 25, 2021, the Court issued its Order Regarding Adversary

  Proceedings Trial Setting and Alternative Scheduling Order [Docket No. 3] (the “Alternative

  Scheduling Order”);

             WHEREAS, on March 1, 2021, NPA filed its answer to the Debtor’s Complaint [Docket

  No. 6] (the “Answer”);

             WHEREAS, the Parties have conferred and desire to enter into a mutually agreeable

  proposed schedule, as specifically set forth below.

             NOW, THEREFORE, it is hereby stipulated and agreed, and upon approval of this

  2
      Refers to the docket number maintained in the Adversary Proceeding.

                                                            2
  DOCS_NY:42551.1 36027/002
Case 21-03005-sgj Doc 15 Filed 03/18/21              Entered 03/18/21 23:33:20      Page 7 of 11



  Stipulation by the Court, it shall be SO ORDERED:

          1.       The Parties agree to the following schedule (the “Proposed Joint Scheduling

  Order”) in lieu of that provided in the Alternative Scheduling Order:

                                   Proposed Joint Scheduling Order

          Event                                          Deadline

          1. Service of Written Discovery                March 31, 2021
              Requests
          2. Service of Written Responses to             May 7, 2021
              Discovery
          3. Completion of Fact Discovery                May 28, 2021
          4. Expert Disclosures                          June 10, 2021
          5. Completion of Expert Discovery              June 25, 2021
          6. Dispositive Motions                         June 25, 2021
          7. Exhibit and Witness Lists                   July 26, 2021
          8. Joint Pretrial Order                        August 2, 2021
          9. Proposed Findings of Fact and               August 2, 2021
              Conclusions of Law
          10. Trial Docket Call                          August 9, 2021


          2.       If approved by the Court, the Proposed Joint Scheduling Order shall only be

  modified in a writing signed by the Parties or upon the entry of an order of the Court entered

  upon notice to the Parties.

          3.       The Court shall retain jurisdiction over all disputes arising out of or otherwise

  concerning the interpretation and enforcement of this Stipulation, subject to any objection to the

  Court’s jurisdiction or core jurisdiction and subject to any motion for the withdrawal of the

  reference, with respect to which all parties reserve their rights, if any.

                                [Remainder of Page Intentionally Blank]




                                                     3
  DOCS_NY:42551.1 36027/002
Case 21-03005-sgj Doc 15 Filed 03/18/21   Entered 03/18/21 23:33:20         Page 8 of 11



  Dated: March 9, 2021.
                                      MUNSCH HARDT KOPF & HARR, P.C.

                                      /s/ Davor Rukavina
                                      Davor Rukavina
                                      Texas Bar No. 24030781
                                      Julian P. Vasek, Esq.
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                                      Counsel for NexPoint Advisors, L.P.

                                      - and -

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                                      - and -




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  DOCS_NY:42551.1 36027/002
Case 21-03005-sgj Doc 15 Filed 03/18/21   Entered 03/18/21 23:33:20     Page 9 of 11



                                      HAYWARD PLLC

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                                      Counsel for Highland Capital Management, L.P.




                                          5
  DOCS_NY:42551.1 36027/002
           Case 21-03005-sgj Doc 15 Filed 03/18/21                                 Entered 03/18/21 23:33:20                        Page 10 of 11
                                                              United States Bankruptcy Court
                                                                Northern District of Texas
Highland Capital Management, L.P.,
      Plaintiff                                                                                                        Adv. Proc. No. 21-03005-sgj
NexPoint Advisors, L.P.,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: mmathews                                                              Page 1 of 2
Date Rcvd: Mar 16, 2021                                               Form ID: pdf001                                                            Total Noticed: 5
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 18, 2021:
Recip ID                 Recipient Name and Address
ust                    + Cheryl Wilcoxson, US Trustee, 1100 Commerce St., Ste. 976, Dallas, TX 75242-0996
dft                    + NexPoint Advisors, L.P., K&L Gates LLP, c/o Stephen G. Topetzes, 1600 K Street, NW, Washington, DC 20006-2806

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion06.ty.ecf@usdoj.gov
                                                                                        Mar 16 2021 22:17:00      US Trustee, Office of the U.S. Trustee, 110 N.
                                                                                                                  College Ave., Suite 300, Tyler, TX 75702-7231
ust                    + Email/Text: ustpregion07.hu.ecf@usdoj.gov
                                                                                        Mar 16 2021 22:17:00      US Trustee, Office of the US Trustee, 515 Rusk
                                                                                                                  Ave, Ste 3516, Houston, TX 77002-2604
ust                    + Email/Text: ustpregion06.da.ecf@usdoj.gov
                                                                                        Mar 16 2021 22:17:00      United States Trustee, 1100 Commerce Street,
                                                                                                                  Room 976, Dallas, TX 75242-0996

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
ust                            Sandra Nixon, U.S. Trustee
ust                            mario zavala
ust              *+            US Trustee, Office of the U.S. Trustee, 110 N. College Ave., Suite 300, Tyler, TX 75702-7231

TOTAL: 2 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 18, 2021                                            Signature:           /s/Joseph Speetjens
          Case 21-03005-sgj Doc 15 Filed 03/18/21                             Entered 03/18/21 23:33:20                    Page 11 of 11
District/off: 0539-3                                             User: mmathews                                                         Page 2 of 2
Date Rcvd: Mar 16, 2021                                          Form ID: pdf001                                                       Total Noticed: 5

                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 16, 2021 at the address(es) listed
below:
Name                            Email Address
Julian Preston Vasek
                                on behalf of Defendant NexPoint Advisors L.P. jvasek@munsch.com

Zachery Z. Annable
                                on behalf of Plaintiff Highland Capital Management L.P. zannable@haywardfirm.com


TOTAL: 2
